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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JEROME SKOCHIN,
et al.,
Plaintiffs,
Vv. Civil Action No. 3:19cv49

GENWORTH FINANCIAL, INC.,
et al.,

Defendants.

MEMORANDUM OPINION

This Memorandum Opinion addresses the objections that have
been tendered by individual class members in opposition to
PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT
(ECF No. 135) (“Motion to Approve the Settlement”). The objections
are set out in letters and pleadings bearing ECF Nos. 116, 119-
123, 127, 128, 132, 133, 148, 149, 153, 154, 156, 158, 159, 161,
162, 164, 166, and 169-172. The parties have responded in writing
to the several objections.! On July 10 and 14, 2020, the Court
heard argument on the objections from the objectors and the

parties. Thereafter, the Court ordered further briefing on several

 

1 PLAINTIFFS' REPLY IN SUPPORT OF (1) MOTION FOR FINAL APPROVAL OF
CLASS ACTION SETTLEMENT AND (2) CLASS COUNSEL'S MOTION FOR AN AWARD
OF ATTORNEYS' FEES AND EXPENSES AND SERVICE AWARDS TO THE NAMED
PLAINTIFFS (ECF No. 177).
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issues, and in response, the parties submitted CLASS COUNSEL'S
SUPPLEMENTAL MEMORANDUM PURSUANT TO THE COURT’S JULY 20, 2020 ORDER
(ECF No. 201) and JOINT STATEMENT OF POSITION IN RESPONSE TO THE
COURT’S JULY 21, 2020 ORDER (ECF No. 203).

Upon further review of the position asserted in the July
hearings and the various relevant pleadings, the Court, on
September 14, 2020, ordered further briefing on the asserted value
of the Settlement to the class and the financial impact of the
Settlement on the Defendants. ORDER, ECF No. 208; ORDER, ECF No.
210. Class Counsel responded to that order by filing CLASS
COUNSEL’S SUPPLEMENTAL MEMORANDUM PURSUANT TO THE COURT’S
SEPTEMBER 14, 2020 ORDER (ECF No. 211) and DECLARATION OF JONATHAN
M. PETTY (ECF No. 212). Defendants filed DEFENDANTS’ MEMORANDUM
IN RESPONSE TO THE COURT’S SEPTEMBER 16, 2020 ORDER (ECF No. 213)
and DECLARATION OF JAMALA ARLAND IN SUPPORT OF DEFENDANTS’ RESPONSE
TO THE COURT’S SEPTEMBER 16, 2020 ORDER (ECF No. 214).
| Having considered all of the submitted information and for
the reasons set forth on the record during the hearings on July 10
and July 14, 2020 (“July Hearings”) as well as the reasons set
forth below, the various objections relating to Plaintiffs’ Motion
to Approve the Settlement will be OVERRULED. Objections relating
to CLASS COUNSEL’S MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND

EXPENSES AND SERVICE AWARDS TO THE NAMED PLAINTIFFS (ECF No. 142)
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(“Motion for Attorneys’ Fees”) will be addressed in a separate
memorandum opinion.
BACKGROUND

I. Procedural History: the Class Action Complaint, its
Amendments, and the Claims

To resolve the objections to the Plaintiffs’ Motion to Approve
the Settlement, it is necessary to understand the claims asserted
by the Plaintiffs because it is those claims, not others that might
have been asserted, that are being resolved by compromise. And,
of course, any relief that might be awarded in the event of success
at a trial on those claims is circumscribed by the claims that
would be tried. Thus, relief achieved by settlement must be
measured in perspective of what relief is sought and what relief
is conceptually available.

A. The Various Iterations of the Class Complaint

Jerome Skochin, Susan Skochin, and Larry Huber
(“Plaintiffs”), individually and on behalf of a proposed class of
Genworth Choice 1 policyholders as of January 1, 2012, filed this
class action against Defendants Genworth Life Insurance Company
(“GLIC”) and Genworth Life Insurance Company of New York (“GLICNY”)
(collectively “Genworth” or ™“Defendants”). COMPL., ECF No. 1.
The initial Complaint was filed on January 18, 2019. Then,
following the initial pretrial conference, the Plaintiffs filed an

Amended Class Action Complaint (“Amended Complaint”), asserting
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claims against GLIC and Genworth Financial, Inc. for breach of
contract, fraudulent omission, and violation of the Pennsylvania
Unfair Trade Practices and Consumer Protection Law, 73 Pa. Cons.
Stat. Ann. § 201-1, et. seq. (“UTPCPL”).

On May 13, 2019, Genworth filed a motion to dismiss the
amended complaint. ECF No. 39. Genworth’s motion to dismiss
argued that Plaintiffs’ claims should be dismissed based upon the
filed-rate doctrine and, alternatively, that Plaintiffs’ failed to
state a claim under Fed. R. Civ. P. 12(b) (6). DEFS.’ MEM. LAW
SUPP. MOT. DISMISS, ECF No. 40. On August 29, 2019, the Court
issued a Memorandum Opinion and Order denying, in part, Genworth’s
motion to dismiss. ECF Nos. 78, 79. In that Memorandum Opinion,
the Court held that the filed-rate doctrine did not bar Plaintiffs’
claims; that Plaintiffs’ fraud claims were plausibly alleged; and
that Plaintiffs’ UTPCPL claim was plausibly alleged. However,
Plaintiffs’ breach of contract claim was dismissed with prejudice.
Id. The Court permitted Plaintiffs to file a Second Amended
Complaint (“SAC”) by September 20, 2019 and Genworth to answer the
SAC by October 4, 2019. ORDER, ECF No. 79.

Plaintiffs filed their SAC on September 20, 2019, asserting
a claim for fraudulent inducement by omission and a claim under
the UTPCPL. SAC at 50-56, ECF No. 84. In Genworth’s answer to
the SAC filed on October 4, 2019, Genworth asserted twenty

affirmative defenses and avoidances. DEFS.’ ANSWER PLS.‘ SAC, ECF
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No. 85. As part of the Settlement, it was agreed that the
Plaintiffs would file a Third Amended Complaint (“TAC”). For the
most part, the TAC tracks the SAC. Nevertheless, because the TAC
is the operative complaint, the Plaintiffs’ claims will be outlined
with reference to the TAC.

B. The Factual Backdrop for the Class Claims

Plaintiffs and class members each have Choice I Long Term
Care Insurance policies issued by Genworth. Long Term Care (“LTC”)
insurance is intended to defray the cost of home care, assisted
living care, nursing home care, and other specialized skilled
facility care required when an individual can no longer perform
the basic activities of daily life. TAC I 3, ECF No. 90.

Plaintiffs allege that, since 2012, Genworth has steadily and
substantially increased the premiums on its LTC insurance
policies. TAC 7 1, ECF No. 90. When Genworth learned that there
were substantial deficiencies in its reserves going forward, it
created an internal action plan to seek significant premium rate
increases systematically across its older policy classes. Id. 1
17. Plaintiffs also allege that, to avoid reporting a current
negative loss recognition testing margin, Genworth relied almost
entirely on billions of dollars in future rate increases to plug
the hole in its reserves. Id. @ 18.

Then, say the Plaintiffs, Genworth began implementing its

rate increase plan. TAC I 22, ECF No. 90. However, Genworth’s
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plan for substantial future rate increases was never shared with
Genworth’s LTC policyholders. Id. 7 24. Rather, it is alleged
that Genworth told policyholders only that it was “likely” that a
premium rate would increase in the future, without telling
policyholders that Genworth actually had significant holes in its
reserve and that Genworth planned to increase premiums by at least
150% over the next few years. Id. 47 24-29. Plaintiffs allege
that Genworth only partially disclosed material information when
communicating the premium increases to its LTC policyholders and
that, without the undisclosed information, Plaintiffs and the
Class could not make informed decisions in response to their policy
option renewals. Id. 7 1.

In other words, it is alleged that the undisclosed information
was material to decisions that LTC policyholders made respecting
whether, and to what extent, to renew or retain their LTC coverage;
that the undisclosed information was necessary to make accurate
the disclosed information; and that, therefore, the omissions made
the disclosed information fraudulent. It is also alleged that
Genworth intended that policyholders would rely on the knowingly
inadequate disclosures in making the election among their policy
choices.

Generally speaking, the choices given to policyholders
respecting whether, and to what extent, to maintain LTC policies

were to: (1) maintain the existing LTC coverage and pay the
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increased premium; (2) reduce the LTC coverage and pay a lower
premium; or (3) opt for a paid up LTC policy. Plaintiffs maintain
that, had they known the scope and magnitude of Genworth’s plans
for future rate increases, they would have made different policy
option elections. Id.
Cc. The Claims
In Count One, the TAC presents a claim for fraudulent
inducement by omission. TAC at 49-54, ECF No. 90. In particular,
the TAC alleged:
207. By failing to adequately disclose
material information about Genworth’s rate
increase action plans, current reliance on its
planned future increases actually being
approved, and the risks to Genworth’s solvency
if such increases were not approved, Genworth

withheld material information from Plaintiffs
and the Class.

 

 

208. Genworth intended that Plaintiffs and the
Class Members rely upon the incomplete
information it did provide in hope that they
would pay the increased rates.

209. Plaintiffs and Class Members were unaware
of the scope and magnitude of Genworth’s
entire rate increase action plan when they
made their renewal elections. They were also
unaware of Genworth’s reliance on this rate
action plan, which also included significant
increases on other LTC policies, to build
adequate reserves to pay their future claims.

210. Without a complete picture of Genworth’s
massive rate increase plan, Plaintiffs and the
Class Members elected to renew their
contracts. Had they known the full scope and
magnitude of Genworth’s rate action plans, and
the Company’s reliance on massive rate
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increases in the future to remain viable, they
would have made different policy option
elections.

TAC FJ 207-210, ECF No. 90 (emphasis added). The relief sought in
Count One was:

(a) a declaration that Genworth had withheld
material information as alleged;

(b) an injunction requiring Genworth to make
adequate and corrective disclosures and
allowing LTC policyholders to make new
elections in light of the new
disclosures;

 

(c) an order allowing LTC policyholders to
rescind previously made elections; and

(d) return of premiums for the policies as to
which rescission is allowed.

 

TAC ( 212 (a-d), ECF No. 90 (emphasis added). Put another way,
the TAC says that on Count One:

213. To avoid doubt, if the above relief is
obtained, plaintiffs seek to be placed in the
same position they were in before Genworth
made the aforementioned omissions, meaning
they would still have the same guaranteed
renewable Choice I LTC policy they had prior
to the omissions, and must then decide whether
to maintain that policy in light of the
current premiums that would be due.

 

 

 

 

TAC J 213, ECF No. 90 (emphasis added).

In Count Two, the TAC presented a claim for violation of the
Pennsylvania Unfair Trade Practices And Consumer Protection Law
(the “Pennsylvania UTPCPL”). The Pennsylvania UTPCPL claim is

based on the same factual assertions as form the basis for the
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fraudulent inducement claim in Count One. And, the relief sought
for Count Two is “declaratory and injunctive relief, damages,
treble damages, costs of litigation attorneys[’] fees” and other
just relief. TAC { 224, ECF No. 390.

Then, the TAC presents a PRAYER FOR RELIEF that is not
tethered specifically either to Count One or Count Two. That
section of the TAC seeks:

B. That the conduct alleged herein be
declared, adjudged and decreed to be
unlawful;

Cc. That Plaintiffs and the Classes they
represent be awarded compensatory,

consequential, and general damages in an
amount to be determined at trial;

 

D. That Plaintiffs Jerome and Susan Skochin
and the Pennsylvania Subclass’ they
represent be awarded statutory damages
pursuant to Count Four;

 

E. Injunctive relief as is warranted;

F. Costs and disbursements of the action;
G. Pre-and post-judgment interest;

H. Reasonable attorneys’ fees; and

I. Such other and further relief as this

Court may deem just and proper
TAC at 57, ECF No. 90 (emphasis added).
II. Discovery
Shortly after the Initial Pretrial Conference, the parties

began serving written discovery requests. Plaintiffs served their
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initial requests for production of documents on May 1, 2019, and
Genworth served requests for production and a first set of
interrogatories on each of the three named Plaintiffs on May 8,
2019. PLS.’ MEMO. IN SUPP. at 5, ECF No. 92. The parties timely
responded and objected to each, and their counsel met and conferred
several times regarding the timing and scope of the discovery
requests. Id. With respect to Genworth’s document production,
counsel for the parties negotiated stipulations concerning the
collection and production of electronically-stored information, as
well as a set of search terms and custodians. Id.; STIPULATED
PROTECTIVE ORDER, ECF No. 49; STIPULATED PROTECTIVE ORDER ESI, ECF
No. 50. In total, Genworth produced 205,000 pages of documents to
Plaintiffs between May 3, 2019 and July 9, 2019. PLS.’ MEMO. IN
SUPP. at 5, ECF No. 92.

On August 16, 2019, Plaintiffs deposed Genworth’s Vice
President for LTC Insurance Product Management and Genworth’s
corporate representative, who was responsible for the development
of rate increase action plans, new LTC products, and helping
oversee the state regulatory approval process of LTC rate increase
requests. PLS.’ MEMO. IN SUPP. at 6, ECF No. 92. On August 27,
2019, Plaintiffs took the deposition of Genworth’s Senior Project
Leader for In-Force Management, who was responsible for developing
rate increase notification letters sent to the Settlement Class,

as well as for providing support for the customer service team

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following state regulatory decisions on Genworth’s rate increase
requests. PLS.’ MEMO. IN SUPP. at 6, ECF No. 92.

On August 30, 2019, Genworth disclosed its expert Ted Nickel,
the Wisconsin Commissioner of Insurance from 2011-2019, pursuant
to Fed. R. Civ. P. 26(a)(2) and produced Nickel’s expert report
for class certification. Mr. Nickel was deposed on September 20,
2019. PLS.’ MEMO. IN SUPP. at 6, ECF No. 92.

On September 10 and 12, 2019, plaintiffs Larry Huber, Susan
Skochin, and Jerome Skochin sat for depositions. All three Named
Plaintiffs testified that they understood the role and obligations
of class representatives and demonstrated their competency and
ability to serve as such by, inter alia, overseeing the litigation
through the pleading, motions to dismiss, and discovery phases;
participating in discussions with their counsel concerning case
developments, strategies, and significant filings; and searching
for and producing documents in discovery and responding to
interrogatories. PLS.’ MEMO. IN SUPP. at 6-7, ECF No. 92.

On September 16, 2019, Plaintiffs served Genworth with over
200 requests for admission, ten interrogatories, and additional
document requests. That same day, Genworth served Plaintiffs with
its second set of document requests. Further, leading up to the
settlement, Plaintiffs’ counsel prepared their motion for class
certifications and related motions to be filed on October 1, 2019.

PLS.’ MEMO. IN SUPP. at 7, ECF No. 92.

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III, The Mediation

Upon completion of argument on Genworth’s motion to dismiss
on July 12, 2019, the Court advised the parties that the breach of
contract claims likely would be dismissed and urged the parties to
consider settlement of the fraud claims. On August 1, 2019, the
parties contacted Rodney A. Max of Upchurch, Watson, White & Max
Mediation Group, Inc. regarding his availability to serve as a
neutral mediator. The first mediation session took place on
Saturday, September 28, 2019. According to Plaintiffs’ Counsel,
between the first and second mediation session, “Genworth worked
extremely hard, with in-house and outside legal counsel, business
analysts, actuaries, and key decision-makers to craft a detailed
response to Plaintiffs’ initial proposal for settlement, which
Genworth presented to Plaintiffs on October 17, 2019. That day,
the parties spent the entire day in internal deliberations and
face-to-face negotiations, but ultimately were unable to reach a
complete resolution of all outstanding issues.” PLS.’ MEMO. IN
SUPP. at 7, ECF No. 92 (citation omitted).

On October 18, 2019, the parties conducted a second day of
mediation. Over the next several days, the parties corresponded
by emailed and telephone to reach an agreement. On October 29,
2019, the parties entered into an agreement and entered a notice

of settlement with the Court. NOTICE OF SETTLEMENT, ECF No. 88.

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As part of the Settlement Agreement, Plaintiffs filed the
TAC, which included the same claims as the SAC on behalf of
policyholders from all fifty states and the District of Columbia
and added GLICNY as a defendant. ORDER, ECF No. 89. In the TAC,
the Plaintiffs request the following relief:

a. declaratory relief in the form of a
declaration that Genworth withheld material
information from Plaintiffs and the Class
regarding its plans for future rate increases
and its reliance upon obtaining at least some
portion of future rate increases on its LTC
policies to be able to pay future claims;

 

 

b. injunctive relief in the form of an
adequate and corrective disclosure to
Plaintiffs and the Class that reveals the
omitted information, and the right to make new
policy renewal elections in light of the new
disclosures;

 

 

 

c. if Genworth is found to have omitted
material information, then rescission of their
policy renewals each year since Genworth first
made those omissions; and

d. return of premiums paid for each year a
renewal of the policy was rescinded.

 

TAC 4 212, ECF No. 90 (emphasis added). In sum, the Plaintiffs
sought “to be placed in the same position they were in before
Genworth made the aforementioned omissions, meaning they would
still have the same guaranteed renewable Choice I LTC policy they
had prior to the omissions, and must then decide whether to
maintain that policy in light of the current premiums that would

be due.” TAC TI 213, ECF No. 90

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IV. Preliminary Consideration of the Proposed Settlement

On January 15, 2020, the Court held a hearing on the
PLAINTIFFS’ MOTION TO DIRECT NOTICE OF PROPOSED SETTLEMENT TO THE
CLASS (ECF No. 91). Thereafter, the Court issued an order
preliminarily approving the settlement and certifying the
settlement class under Fed. R. Civ. P. 23. ORDER GRANTING
PRELIMINARY APPROVAL OF SETTLEMENT AND DIRECTING NOTICE TO CLASS,
ECF No. 98 (the “Preliminary Approval Order”). The Preliminary
Approval Order directed that notice be sent to the proposed
settlement class summarizing the settlement terms and fixing
procedures and a schedule allowing policyholders to opt out of the
class and to file objections to the settlement (the “Notice”).
Id. The Preliminary Approval Order also set a schedule for the
filing of motions seeking final approval of the proposed
settlement. Id.

An Order Amending the Preliminary Approval Order (ECF No.
104) was entered on March 31, 2020. The amended Preliminary
Approval Order required that the Notice be sent to class members
on April 14, 2020, and on that date, the Notice was sent to
potential class members. The Notice explained the options class
members have to communicate with Class Counsel about the Settlement
Agreement, their rights and options thereunder, and how to examine

certain information on a website that was set up as part of the

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settlement process. Class members were also informed that they
could contact independent counsel of their choice for advice.

As required by the Class Action Fairness Act, 28 U.S.C. §
1715, on December 30, 2019, notice of the proposed settlement and
the terms thereof were sent to the appropriate state
representatives in each of the 50 states, the District of Columbia
and the U.S. Virgin Islands, as well as to the Attorney General of
the United States. DEFS.’ NOTICE OF COMPLIANCE, ECF No. 95. That
notice afforded the various governmental entities a full and
adequate explanation of the settlement terms and the procedures
necessary for them to participate in this case.

According to Class Counsel, they spoke to over 4,000
policyholders with questions regarding the Settlement Agreement.
PLFS.’ REPLY at 6, ECF No. 177. Over the course of the sixty days
allotted in the Notice, 191 policyholders opted out of the
Settlement Agreement and 32 objections were filed by 43 Class
Members. However, five of the objections have since been
withdrawn, and two objections were not filed within the required
time. Id. at 6, n. 1. Additionally, the California Department of
Insurance (“CDI”) filed a statement concerning the Settlement

Agreement.

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The Court held a hearing on Plaintiffs’ Motion to Approve the
Settlement (ECF No. 135) on July 10, 2020 and July 14, 2020.?
Vv. The Terms of the Settlement

To understand the objections to the Settlement Agreement, it
also is necessary to understand the terms of the Settlement
Agreement itself. In broad terms, as explained by Class Counsel,
the Settlement Agreement “directly addresses [the] alleged harm by
providing class members with additional Disclosures about future
rate increases, and then allowing them options to restructure their

benefits and premiums in light of those Disclosures, if they so

 

wish.” MEM. IN SUPP. at 1-2, ECF No. 136 (emphasis added). The
pertinent terms of the Settlement Agreement are discussed below.
To begin, Genworth will send a Special Election Letter to all
Settlement Class members who have not opted out of the Settlement
Agreement. The Special Election Letter will: (1) make certain
Disclosures, which will include information about (i) Genworth’s
plans (at the time that the Disclosure is sent) to seek cumulative
future rate increase; and (ii) Genworth’s financial condition at
the time that the Disclosure is sent; and (2) offer Settlement
Class members the ability to choose from several Special Election
Options for continuation or termination of their respective LTC

policies. The Special Election Letter will allow Settlement

 

2 A hearing on Plaintiffs’ Motion for Attorneys’ Fees was held on
September 11, 2020. ORDER, ECF No. 200.

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Class Members to restructure their policies with either Cash
Damages or enhanced paid-up benefits, depending on the option that

is elected, while taking into consideration the information

provided within the Disclosures. These Special Election Options
include:
I. General Special Election Options. For Settlement

Class members who are not included in categories II
through IV below, the following Special Elections
Options may be available.

A. Paid-up Benefits Options and Damages Options
For Settlement Class Members Who Have Not
Previously Gone Into Non-Forfeiture Status.
These two paid-up benefit settlement options
would be available to all Settlement Class
members in all States who have not previously
gone into Non-Forfeiture Status.

1. A settlement option consisting of two
components: (a) a paid-up benefit option
equivalent to 100% of the Settlement Class
member’s paid-in premiums through December
31, 2015 less any claims paid over the
lifetime of the policy, and (b) a damages
payment equal to premiums paid during the
time period beginning January 1, 2016
through December 31, 2019; or

2. A settlement option consisting of a paid-
up benefit equal to two times the difference
between the Settlement Class member's paid-
in premiums to date less claims paid to the
Settlement Class member to date. This
option will not include any damages
payment.

B. Reduced Benefit Options (“RBOs”) and Damages
Options. The first two RBO settlement options
would be available to all Settlement Class
members in all States with either lifetime or
limited benefit period policies, excluding
Settlement Class members who have previously
elected a Stable Premium Option, a New York
Landing Spot Option, or Settlement Class
members whose level of benefits are below the
level of benefits available in the below

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offered options. The third RBO settlement

option would be available to all Settlement

Class members that currently have policies

with a lifetime benefit period.

1.A settlement option consisting of two
components: (a) removal of the Benefit
Inflation Option (“BIO”) with a reduction
of their Daily Benefit Amount (“DBA”) to
their original DBA (i.e. the DBA they had
prior to any BIO increases), for a reduced
annual premium, and (b) a damages payment
equal to four times the differential
between the Settlement Class member’s
current annual premium for his or her
existing policy and the current annual
premium for the new reduced level of
benefits; or

2.A settlement option consisting of two
components: (a) removal of the BIO with a
25% reduction to their current DBA (after
benefit inflation) for a reduced annual
premium, and (b) a damages payment equal to
four times the differential between the
Settlement Class member’s current annual
premium for his or her existing policy and
the current annual premium for the new
reduced level of benefits; or

3. For Settlement Class members with lifetime
benefits, a settlement option consisting of
two components: (a) election of a 6-Year
Benefit Period (or the next lowest option
if a 6-Year Benefit Period is not available)
and a 25% reduction to their current DBA
(after benefit inflation), for a reduced
annual premium, and (b) a damages payment
equal to four times the differential
between the Settlement Class member’s
current annual premium for his or her
existing policy and the current annual
premium for the new reduced level of
benefits.

II. Options For Settlement Class Members Who Went Into
Non-Forfeiture Status After January 1, 2014 But Prior
To Making An Election In The Settlement. These
election options will be provided to Settlement Class
members who elected a NFO after January 1, 2014, but
prior to making an election in the Settlement:

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1. A settlement option consisting of a paid-
up benefit equal to two times’- the
difference between the Settlement Class
member's paid-in premiums to date less
claims paid to the Settlement Class member
to date. This option will not include any
damages payment; or

2. An option to elect a damages payment of
$1,000 and retain their current paid-up
benefit.

III. Options For Settlement Class Members With Partnership
Plans. These election options will be provided to
Settlement Class members who have Partnership Plan
policies:

A. Paid-up Benefit Options and Damages Options

For Settlement Class Members With Partnership

Plans Who Have Not Previously Gone Into Non-

Forfeiture Status. These two paid-up benefit

settlement options would be available to those

Settlement Class members with Partnership

Plans who have not previously gone into Non-

Forfeiture Status.

1.A settlement option consisting of two
components: (a) a paid-up benefit option
equivalent to 100% of the Settlement Class
member’s paid-in premiums through December
31, 2015 less any claims paid over the
lifetime of the policy, and (b) a damages
payment equal to premiums paid during the
time period beginning January 1, 2016
through December 31, 2019; or

2. A settlement option consisting of a paid-
up benefit equal to two times the difference
between the Settlement Class member’s paid-
in premiums to date less claims paid to the

Settlement Class member to date. This
option will not include any damages
payment.

B. For Settlement Class members who are able to
further reduce their benefit periods without
jeopardizing their Partnership Plan status
and:

1. Who have limited benefit period policies, a
settlement option consisting of two
components: (a) a reduction to the
Settlement Class member’s Benefit Period to
the next lowest available level and a 25%

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reduction of their current DBA (after
benefit inflation), with a reduced annual
premium, and (b) a damages payment equal to
four times the differential between the
Settlement Class member’s current annual
premium for his or her existing policy and
the current annual premium for the new
reduced level of benefits.

2. Who have lifetime benefit period policies,
a settlement option consisting of two
components: (a) a reduction to a 6-Year
Benefit Period (or the next lowest option
if a 6-Year Benefit Period is not available)
and a 25% reduction of their current DBA
{after benefit inflation), with a reduced
annual premium, and (b) a damages payment
equal to four times the differential
between the Settlement Class member’s
current annual premium for his or her
existing policy and the current annual
premium for the new reduced level of
benefits.

IV. Options For Settlement Class Members In States That Do
Not Allow Disclosure To Be Mailed Or Special Election
Options To Be Offered. To the
extent that any state refuses to allow any form of the
Disclosures and the Special Elections agreed to in the
underlying Agreement, the Settlement Class members in
that state will be offered:

A. For Settlement Class members whose policies
are still in force, an option to elect a $100
credit against future Class Policy premiums;
or

B. For Settlement Class members whose Class
Policies are in Non-Forfeiture Status only,
an option to elect a $100 one-time credit to
the Settlement Class members’ Non- Forfeiture
Option benefit pool.

DECLARATION OF BRIAN D. PENNY IN SUPPORT OF PLAINTIFFS’ MOTION TO

DIRECT NOTICE OF PROPOSED SETTLEMENT TO THE CLASS, Appendix C (ECF

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No. 93-1) (citation omitted) .3

Under the terms of the Settlement Agreement, notice and
administration costs for the Settlement will be funded by Genworth.
Settlement Agreement 7 53, ECF No. 93-1. Named Plaintiffs will
each request $25,000 in connection with their representation of
the Settlement Class. Plaintiffs’ counsel will seek approval of:
(a) attorneys’ fees in the amount of $2,000,000.00 for the non-
monetary disclosure benefits achieved for the Settlement Class,
and 15% of the “Cash Damages” paid to Settlement Class members,
subject to a floor of $10,000,000.00 and a cap of $24,500,000.00;
and (b) payment of expenses or charges resulting from the
prosecution of this action in an amount not to exceed $75,000. All
fees and expenses the Court awards shall be paid by Genworth in
addition to any amount payable by Genworth to Class members as
damages, or otherwise.

The Settlement Agreement also provides that, if final
approval is given by the Court, Genworth then will require time to
prepare its administrative system for preparing and mailing the

Special Election Letters and for processing and servicing the

 

3 A template of the Special Election Letter and the kind of
Disclosures to be made therein (which will be customized to some
extent for each Settlement Class member) is attached to the
Settlement Agreement at Appendix D. Special Election Letter at
49, ECF No. 93-1.4 See Second Supplemental Declaration of Cameron
R. Azari, Esq. on Implementation of Settlement Notice Plan and
Administration (“Azari Decl.”) I 6, ECF No. 179.

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responses. DECLARATION OF BRIAN D. PENNY IN SUPPORT OF PLAINTIFFS’
MOTION TO DIRECT NOTICE OF PROPOSED SETTLEMENT TO THE CLASS,
Appendix C WI 44(c), ECF No. 93-1. In particular, the Special
Election Letters will be mailed six to nine months after final
approval, if given. Id. @ 44(d).

Until the Special Election Letter is received, class members
will not have the Disclosures about Genworth’s plans for future
rate increases or its financial condition. And, the Disclosures,
are important to class members in deciding which option to elect.

However, under the Settlement Agreement, class members must
have decided whether to opt out (or to remain in) the class sixty
days after the Notice was mailed. Thus, although class members
know much about the options available to them before the opt-out
date, they did not know about what specific Disclosures will be
made available about Genworth’s plans for future rate increases.

Additionally, by virtue of the Special Election Letters,
many, if not most, class members will be able to choose from
options that provide some cash damages or paid up benefits.
However, the value of the cash damages and paid up benefits were
not knowable at the time that class members had to decide whether
to opt out. It appears that those values will not be knowable
until the Special Election Letters are sent because of time
required for Genworth to devise and implement the system for

calculating the cash payment and paid up benefit amounts. Genworth

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is not prepared to invest the time and expense in devising and
implementing the necessary systems until it knows whether the
Settlement Agreement will be approved.

These two aspects of the Settlement lie at the core of most
of the objections to the adequacy of the Notice and to the
Settlement Agreement itself.

In exchange for the benefits provided under the Settlement
Agreement, each class member will release Genworth from any and
all claims. Settlement Agreement @ 44, ECF No. 93-1.

It is against this background that the objections will be
considered.

LEGAL FRAMEWORK

A district court may approve a class action settlement
agreement only after complying with the procedures set forth in
Fed. R. Civ. P. 23(e). Rule 23(e) encompasses three stages and
two separate hearings to effectuate the settlement approval
process. At the first stage, the parties must present the proposed
settlement to the court for the court’s preliminary approval, and,
if the class has not yet been certified, for conditional class
certification. In the second stage, assuming that the class action
settlement was approved preliminarily, notice must be sent to
potential class members describing the terms of the proposed
settlement, class members must be given an opportunity to object

or to opt out of the settlement, and the court then must conduct

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a fairness hearing at which class members may appear and support
or object to the settlement. At the third and last stage, the
court must take into consideration all of the information before
it and determine whether “final approval” of the settlement is
merited.

Fed. R. Civ. P. 23(e) provides that “(t]he claims, issues, or
defenses of a certified class-or a class proposed to be certified
for purposes of settlement-may be settled, voluntarily dismissed,
or compromised only with the court’s approval.” Fed. R. Civ. P.
23(d). A class settlement can be approved “only after a hearing
and on a finding” that the proposed class-action settlement is
“fair, reasonable, and adequate.” See In re MicroStrategy, Inc.
Sec. Litig., 150 F. Supp. 2d 896, 903-904 (E.D. Va. 2001). When
determining whether to approve a class action settlement, the court
will first consider whether the process leading to the settlement
was fair and then turn to whether the terms provided within the

settlement are adequate. See Jiffy Lube Sec. Litig., 927 F.2d

 

155, 158-59 (4th Cir. 1991).

The Fourth Circuit has set a multifactor standard to assess
whether a class action settlement is “fair, reasonable, and
adequate.” The “fairness” evaluation centers on the settlement

process itself. Whitaker v. Navy Federal Credit Union, No. 09-

 

cv-2288, 2010 WL 3928618, at *2 (D. Md. Oct. 4, 2010). In making

this determination, a court should consider:

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(1) the posture of the case at the time
settlement was proposed;

(2) the extent of discovery that had been
conducted;

(3) the circumstances surrounding the
negotiations; and

(4) the experience of counsel in the area of
(the) class action litigation.

See In re Jiffy Lube Sec. Litig., 927 F.2d 155, 159 (4th Cir.

 

1991). The “adequacy” evaluation focuses on the substance of the
settlement. Whitaker, 2010 WL 3928616, at *2. In assessing the
adequacy of the proposed settlement, a court must consider:

(1) the relative strength of the plaintiffs’
case on the merits;

(2) the existence of any difficulties of
proof or strong defenses the plaintiffs
are likely to encounter if the case goes
to trial;

(3) the anticipated duration and expense of
additional litigation;

(4) the solvency of the defendant[ ] and the
likelihood of recovery on a litigated
judgment; and

(5) the degree of opposition to the
settlement.

See In re Jiffy Lube Sec. Litig., 927 F.2d 155, 159 (4th Cir.
1991). The reasonableness, fairness, and adequacy analysis of the
overall settlement will be made in a separate memorandum opinion,
but the basic principles must be kept in mind when assessing the

objections.

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A lack of objection to the settlement by class members and
opt-outs from the class demonstrates low opposition to the
settlement and weighs in favor of its approval. See In re Mills

Copr. Sec. Litig., 265 F.R.D. 246, 257 (E.D. Va. 2009). See Mills,

 

265 F.R.D. at 257-58. However, under Fed. R. Civ. P. 23(e), the
Court must protect unnamed class members from “unjust or unfair
settlements affecting their rights.” Amchem Prod., Inc. v.
Windsor, 521 U.S. 591, 623 (1997).

Class members, of course, have a right to object to the
proposed settlement terms; and, thus, they are entitled to present
their objections before the court decides whether to approve the
proposed settlement. See Fed. R. Civ. P. 23(e) (5) (A) (“Any class
member may object to the proposal if it requires court approval
under this subdivision (e). The objection must state whether it
applies only to the objector, to a specific subset of the class,
or to the entire class, and also state with specificity the grounds
for the objection.”). An objector is generally entitled “to be
heard, to examine witnesses and to submit evidence on the fairness

of the settlement.” Flinn v. FMC Corp., 528 F.2d. 1169, 1173 (4th

 

Cir. 1975).

In deciding whether to approve a settlement the court must
account for the “strong judicial policy in favor of settlement to
conserve scarce resources that would otherwise be devoted to

protracted litigation” when considering class members’ objections.

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Robinson v. Carolina First Bank NA, No. 7:18-cv-02927, 2017 WL

 

719031, at *8 (D.S.C. Feb. 14, 2019). The objectors to a class
settlement generally bear the burden of proving any assertions
they raise challenging the reasonableness of a class action

settlement. United States v. Oregon, 913 F.2d 576, 581 (9th Cir.

 

1990) (“In this circuit, we have usually imposed the burden on the
party objecting to a class action settlement.”); see also Schechter

v. Crown Life Ins. Co., No. 2:13-cv-05596, 2014 WL 2094323, at *2

 

(C.D. Cal. May 19, 2014) (stating that objectors bear the burden
of showing that settlement approval would contravene its equitable
objectives).

DISCUSSION

Before the July hearings, the Court considered all objections
and the responses to them. Then, at the hearings, objectors were
afforded the opportunity to present their objections orally to the
Court. Class Counsel and attorneys for Genworth responded to each
of the objections. And, as explained above, the Court called for
additional briefing and information.

The objections to the Settlement can be organized into seven
categories: (1) challenges to the adequacy of the Court-approved
Notice; (2) challenges on the basis that the Settlement offers no
concrete benefits; (3) arguments that the Plaintiffs should have
challenged the rate increases; (4) concerns that the payment of

Settlement benefits and/or attorneys’ fees will impair Genworth’s

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ability to pay future claims or result in additional rate
increases; (5) a contention that subclasses are warranted; (6)
challenges to the options provided under the settlement; and (7)
challenges to the amount of attorneys’ fees or service payments.

In this Memorandum Opinion, the Court will address each
category of objections except objections to the amount of
attorneys’ fees or service payments, which will be addressed ina
later opinion.

1. Objections Based on Inadequate Notice and the Lack of
Assertedly Necessary Information

A. The Requirements for Adequate Notice

Fed. R. Civ. P. 23(e) requires notice of the proposed
settlement (and consequent dismissal) of a class action to all
members of the class. The rule is “meant to protect class members
from the binding effect of a settlement in a class suit where the
class members had no opportunity to object to the proposed

settlement.” Kevin D. Hart, Annotation, Propriety of notice of

 

voluntary dismissal or compromise of class action, 52 A.L.R. Fed.

 

457 (1981). Notice afforded to class members “must be the best
practicable, ‘reasonably calculated, under all the circumstances,
to apprise interested parties of the pendency of the action and
afford them an opportunity to present their objections.’” Hege v.
Aegon USA, LLC, 780 F. Supp. 2d 416, 429-430 (D.S.C. 2011) (quoting

Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 812 (1950)); Fed.

 

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R. Civ. P. 23(c)(2). Under the due process requirements of the
Fifth Amendment, putative class members must be given
“[r]easonable notice combined with an opportunity to be heard and

withdraw from the class.” See In re Serzone Products Liability

 

Litigation, 231 F.R.D. 221, 231 (S.D.W. Va. 2005). Further, Fed.
R. Civ. P. 23 provides that:

The notice must clearly and concisely state in
plain, easily understood language:

(1) the nature of the action;

(2) the definition of the class certified;

(3) the class claims, issues, or defenses;

(4) that a class member may enter an
appearance through an attorney if the member
so desires;

(5) that the court will exclude from the class
any member who requests exclusion;

(6) the time and manner for requesting
exclusion; and

(7) the binding effect of a class judgment on
members under Rule 23(c) (3).

Fed. R. Civ. P. 23(c)(2)(B). In essence, notice must provide class
members with enough information to make an informed choice

regarding the proposed settlement. In re Serzone Products

 

Liability Litigation, 231 F.R.D. at 231. Thus, “due process does

 

not necessarily require a global class action settlement notice to
contain detailed, comprehensive information about the law of class

members’ states.” Hege, 780 F. Supp. 2d at 430.

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B. The Distribution of the Notice

Before evaluating the adequacy of the Notice, it is
appropriate to recount the procedures used to disseminate the
Notice and to understand how effective that process was.

The Settlement Administrator (the “Administrator”) reviewed
the class member mailing list sent by Genworth, removed duplicate
entries, and updated addresses where necessary. On April 14, 2020,
the Administrator mailed the Notice Package directly to 207,195
potential class members. The Administrator also mailed a Notice
Package to anyone who requested one by way of the toll-free
telephone number, mail, or email. As of June 25, 2020, the
Settlement Administrator mailed 945 additional Notice Packages.
The Administrator estimates that this approximates a 99.8%
deliverable rate to identified likely class members.‘

On April 14, 2020, the Administrator also established the
settlement website (www. longtermcareinsurancesettlement.com),
where copies of, inter alia, the (1) operative TAC, (2) Joint
Stipulation of Class Action Settlement and Release, (3) Amendment
to Joint Stipulation of Class Action Settlement and Release, (4)
Plaintiffs’ Motion to Direct Notice of Proposed Settlement to the

Class, (5) Joint Motion of the Parties for Leave to Amend the Joint

 

4 See Second Supplemental Declaration of Cameron R. Azari, Esq. on
Implementation of Settlement Notice Plan and Administration
(“Azari Decl.”) 9 6, ECF No. 179.

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Stipulation of Class Action Settlement and Release and to Amend
the Order Preliminarily Approving Settlement and Directing Notice
to Class, (6) Order Granting Amendment to Preliminary Approval
Order of Settlement and Directing Notice to the Class, (7) Class
Notice, (8) List of Class Policies, (9) Appendix C - Special
Election Options, and (10) Appendix D - Special Election Letter
were posted and available for download.5 As of June 25, 2020,
there were 12,790 unique visitors to the settlement website and
26,663 web pages presented to visitors. Azari Decl. {7 11, ECF No.
179.

Additionally, the Administrator established a toll-free
telephone number through which individuals could receive answers
to “FAQs” about the Settlement. As of June 25, 2020, the toll-
free number had fielded 6,119 calls. On May 22, 2020, the
Publication Notice was published in The New York Times, The Wall
Street Journal, and USA Today. Id. @ 15. The combined average
weekday circulation of these three publications is approximately
2.82 million. Id. 7 14.

There are no objections to the mode of notice or to the
adequacy of its reach and distribution. Instead, the objections
to the adequacy of the Notice are based upon the adequacy of the

substantive information provided in the notice or upon the

 

> Id. (7 10-12, 14.
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assertion that additional information should have been included
within the Notice. In reality, these are two sides of the same
coin.
Cc. Specific Objections
(1) Richards, Simpson, Saville, Sweeny, Heckmann,
Jacobs, Agulnick, Ostrich, Goldberg, Wright
Objections to the Sufficiency of the Notice
Jon C. Richards (ECF No. 119), Ronald and Pamela Simpson (ECF
No. 121), James M. Heckmann (ECF No. 158}, William and Roberta
Saville (ECF No. 132), John and Mary Sweeney (ECF No. 133), Saul
and Harriet Jacobs (ECF No. 159) and Ronald and Toby Agulnick (ECF
No. 162) make essentially the same objection to the adequacy of
the Notice: they say that the Notice contains insufficient
information. Specifically, Richards objects because the Notice
does not allow class members to easily evaluate the Settlement
Agreement and the benefits it purportedly provides. Richards
Objection 11 1, 3, ECF No. 119. The Simpsons argue that the Notice
needs to have an “adequate description of the benefits to be
received by members of the Class.” Simpson Objection at 1, ECF
No. 121. Heckmann states that the proposed Settlement Agreement
is based on “vague specifics.” Heckmann Objection at 1, ECF No.
158. The Savilles argue that the Notice is “hopelessly and
unreasonably vague, and contains so many undisclosed conditions
and possible outcomes that it cannot reasonably be evaluated by

any class member, nor for that matter, by the Court.” Saville

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Objection at 1-2, ECF No. 132. The Sweeneys object to the Notice
because they were not able to see what the policyholder’s exact
settlement offer was or how the awards will affect policyholders
with increased premiums. Sweeney Objection at 1, ECF No. 133.
The Jacobs object that the settlement does not sufficiently explain
the numbers and formulas involved: “[w]le don’t believe an
accountant could make sense of this offer let alone a laymen.”
Jacob Objection at 2, ECF No. 159. And finally, the Agulnicks
object that the Notice does not provide class members sufficient
detail to make a decision:

For example, the settlement provides that class
members will be subject to already planned rates
increases by Defendants as part of the settlement, but
the settlement does not disclose what the actual or
proposed rate increases will be, the planned number of
years over which these increases will be sought by
Defendants, or even that Defendants will commit not to
seek rate increases larger or more numerous’ than
currently planned. In addition, other terms of the
proposed “Special Election Options” may or may not be
applicable to Class Members’ separate policies, but
there are insufficient disclosures to make that
determination. The Special Elections Letter also
contains blanks and alternate language, without any
indication of how a Class Member can obtain the missing
information or figure out which alternate language
applies to them. Yet, all of this information is known
to Defendants and is capable of being disclosed.

Agulnick Objection at 2, ECF No. 162.
Additionally, Ronald and Pamela Simpson (ECF No. 121), Mark
Ostrich (ECF No. 123), Sanford and Marion Goldberg (ECF No. 156),

Saul and Harriet Jacobs (ECF No. 159), Donna Wright (ECF No. 161),

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and Ronald and Toby Agulnick (ECF No. 162) object to the proposed
Settlement Agreement on the related ground that the class members
should know exactly which Special Election Options or other relief
will be provided to them, the exact calculation of premiums or
benefits resulting from the exercise of those options, and what
the actual cash damages payments from the election of those
objections will be before having to opt-out of the settlement.
Specifically, on that point, the Simpsons state that the
Notice is “silent as to what consideration flows to the members of
the Class” and that the Notice should have included “an adequate
description of the benefits to be received by members of the
Class.” Simpson Objection at 1, ECF No. 121. Mark Ostrich states
that “there should be some way for class members to understand
financially the choices presented to them in the proposed
settlement.” Ostrich Objection at 7, ECF No. 123. The Goldbergs
state that, “(t]he terms of the settlement are not specifically
defined . . . based upon the status of the existing policy and
other benefits.” Goldberg Objection at 1, ECF No. 156. The Jacobs
argue that they should have been given the exact amount they will
be provided under the Settlement terms before they were required
to make a choice to opt-out. Jacobs Objection at 2, ECF No. 159.
Wright states that the Settlement “requires class members to
provide” a “release of all claims without knowing the actual rate

increases or paid up benefits or other terms of the proposed

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‘Special Election Options’ that might be applicable to separate
policies.” Wright Objection at 11, ECF No. 161. Lastly, the
Agulnicks state that Class Counsel should prepare separate notices
and letters for each class member detailing what benefit the
Settlement affords them and the damages they have suffered.
Agulnick Objection at 6, ECF No. 162.

Although stated somewhat differently, all of these objections®
take the view that the Notice is defective because it does not
specifically tell each class member what relief that member can
expect to receive from the settlement. And, most of these
objections, directly or indirectly, take the view that the Notice
is defective because class members must decide whether to opt-out
(or not) of the action before they know exactly what disclosures
Genworth will make as part of the settlement, exactly what
elections they will have the ability to make, or exactly what
damages they will receive. And, it is reasonable to construe all
of these objections as arguing that the Settlement Agreement is
defective for the same reasons.

Beyond doubt, the Notice and the Settlement Agreement are
complex. However, complexity alone does not render the Notice

inadequate or defective. Nor does complexity alone render the

 

6 That is, ECF Nos. 119, 121, 123, 132, 133, 156, 158, 159, 161,
and 162.

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Settlement Agreement objectionable for being unfair, unreasonable,
or inadequate.

The complexity arises, in the first instance, from the fact
that the Settlement provides a variety of remedial options to the
class members. That, of course, is a recognition that, as respects
the product at issue - long-term care insurance - one kind of
remedy does not fit all class members even though their claims
arise out of the same facts (i.e., misrepresentation by omission).
That recognition, and the crafting of a settlement to take it into
account, is not grounds to find either the Notice or the Settlement
Agreement inadequate. That is particularly so where, as here, the
various options are outlined with such specificity as is currently
available.

The Court is satisfied that, with reasonable study, class
members can understand the various options and can discern, from
among them, which best fits their respective circumstances. In
like measure, if no option fits a class member’s circumstances,
the member was allowed to opt out of the Settlement.

In assessing the adequacy of the Notice, as well as the
fairness of the settlement itself, it is important that, according
to the record, the Notice reached more than 99% of the more than
207,000 class members. Azari Decl. 7 8, ECF No. 179. It is also
Significant that objections were lodged by 0.021% of the class and

only 0.092% of the class opted out. See Azari Decl. 4@@ 15-16, ECF

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No. 179 (noting that of the 207,410 potential class members 191
individuals opted out and 43 individuals objected via 32 separate
objections). In other words, the overwhelming majority of the
class did not complain that the Notice, albeit complex, was beyond
comprehension or that the Settlement Agreement was substantially
unfair in requiring class members to opt out (or remain in) the
settlement class before they received the disclosures from
Genworth, knew exactly what elections they had to make, or knew
exactly what damages they might receive.

Here, as in In re Lumber Liguidators Chinese-Manufactured

Flooring Prod. Mktg. Sales Practices & Prod. Liab. Litig., the

 

fact that so few members of the class objected to, or opted out
of, the settlement is a testament to the conclusion that the Notice
was adequate as well as to whether the settlement is fair and
reasonable. 952 F.3d 471, 485 (4th Cir. 2020). In other words,
on this record, the Court concludes that the overwhelming number
of recipients of the Notice found that neither it, nor the
Settlement Agreement it described, was objectionable either
because the Notice did not adequately explain the settlement terms
or because those terms were unfair or unreasonable or inadequate.

Moreover, it is not necessary that class members have an exact
explanation of the settlement benefits that they will receive
before they must decide whether to opt out. Indeed, many class

settlements require class members to elect one remedy or another

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before opting out. See, e.g., In re Equifax Inc. Customer Data

 

Sec. Breach Litig., No. 1:17-MD-2800-TWT, 2020 WL 256132, at *2-3

 

(N.D. Ga. Jan. 13, 2020); In re Anthem, Inc. Data Breach Litig.,

 

327 F.R.D. 299, 331-32 (N.D. Cal. 2018); see also In re Prudential

Ins. Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d 283,

 

328 (3d Cir. 1998).

In sum, the Notice adequately explains the class claims, the
issues, and the defenses. It also defines the Settlement Class.
It explains how and when class members may object to, or exclude
themselves (opt-out) from, the settlement. Further, the Notice
explains in considerable detail the Settlement terms. It gives
class members sufficient information to make an informed choice
whether to accept the Settlement, object to it, or opt-out of it.

(2) Agulnicks’ Objection That the Notice Fails to
Define Certain Terms

In their objection, the Agulnicks argue that several parts of
the Notice contain undefined and incomplete terms. At the July
10, 2020 settlement hearing, counsel for the Agulnicks expanded on
their objection, stating that several pieces of information should
have been included in the Notice before class members were required
to opt-out. Specifically, the Agulnicks’ counsel pointed to the
following part of the election letter:

[{As you evaluate these choices, please be
aware that as of [Date] over the next [XX]

years we are planning to seek additional rate
increases of up to [[203%] for [lifetime

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benefits] and [134%] for [limited benefits] ]
in the state where your policy was issued.] or
[As you evaluate these choices, please be
aware that we do not have immediate plans to
seek rate increases on your policy and
policies like yours [that previously selected
a Stable Premium Option) in the state where
your policy was issued, although future
premium increases are possible [after the
expiration of your premium rate guarantee
period.]] These potential rate increases would
not be applicable if you choose a settlement
option with a reduced paid-up benefit [(Option
1 or Option 2)]. Please also review the
important disclosures we are providing as part
of the settlement about our rate increase
plans and our reasons for seeking’ such
increases later in this letter.

Settlement Agreement at 50, ECF No. 93-1, suggesting that the
number of years in which Genworth plans to seek additional rate
increases should have been disclosed and that class members cannot
“evaluate whether or not [the] settlement is reasonable without
this information.” July 10 Hearing Tr. at 33, ECF No. 195.
Although the Agulnicks point to additional information that
they claim would have been helpful in deciding whether to opt-out
of the settlement, none of the additions that they propose are
necessary to render the Notice adequate. “The test for whether a
given item must be included in a class notice is whether that
information is such that ‘a reasonable person would consider [it]
to be material in making an informed, intelligent decision of
whether to opt out or remain a member of the class and be bound by

the final judgment.’” Good v. American Water Works Co., Inc., No.

 

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2:14-cv-01374, 2016 WL 5746347, at *8 (S.D.W. Va. Sept. 30, 2016)

(quoting In re Nissan Motor Corp. Antitrust Litigation, 552 F.2d

 

1088, 1104 (5th Cir. 1977)). Genworth’s plans for future rate
increases, which will be disclosed to class members in the Special
Election Letter, are certainly important in deciding which option
to exercise, but that information is not known now, and, indeed,
is not now knowable. It will become known near the time that the
Special Election Letter will be sent. Thus, the question becomes
whether the Disclosure information, albeit important, must be
given to class members before they must decide whether to opt out.
That is only partly an objection to the adequacy of the Notice.
It also is an objection to the fairness, reasonableness, and
adequacy of the Settlement Agreement.

But the response is the same whether the objection is treated
as pertaining to the adequacy of the Notice or the fairness,
reasonableness, and adequacy of the Settlement Agreement itself.
So the point will be addressed here.

Although understanding the magnitude of projected future rate
increases is important in deciding which option to pursue when
presented with specific options, it is not information that is
necessary in deciding whether, on the one hand, to participate in
a plan that will give the class member both the Disclosure of the
likely future rate increases (when that is known) and the specified

options available at the time the Disclosure is made; or, on the

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other hand, to opt out of the class action and proceed on one’s
own with a fraud claim.

It is fair and reasonable to require the opt-out decision
before the details of the forthcoming Disclosure are made because
the Disclosures will be accompanied by the right to make elections
in light of the Disclosures. That is what this action is all
about. That is what the Plaintiffs say they were entitled to and
that is what the class is getting by virtue of the Settlement
Agreement .?

In other words, as to the fraud by omission claim, the
Plaintiffs know that the Settlement Agreement, if approved, will
give them what they say, in their claims, that they need to decide
upon the options that will be presented to them in the Special
Election Letter. And, in addition, class members know that they
will receive a cash payment or a paid-up policy.

Putative class members who considered these results

insufficient were able to opt out and pursue their claims

 

7 Moreover, including the additional information that the Agulnicks
suggested, such as detailed information about Genworth’s current
financial state, would have made the Notice more complex, and
unnecessarily so. Rather than discussing all the potential
developments that may occur in the case, the initial notice needed
only to alert the class members to an action affecting their rights
and “sufficiently inform [them] of the terms of the
proposed settlement[{] and their available options.” Decohen v.
Abbasi, LLC, 299 F.R.D. 469, 478 (D. Md. 2014) (citing In re
MicroStrategy, Inc. Sec. Litig., 150 F. Supp. 2d 896, 906 (E.D.
Va. 2001)).

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individually. And, they had enough information to allow them to
make that decision, notwithstanding that they do not’ know
Genworth’s specific plans for rate increases, the exact amount of
the cash payments, or the exact value of the paid-up benefit (none
of which is known now and will not be known for months).

Armed with the knowledge that they will receive what they are
entitled to (disclosures and new elections) under the policy and
more (cash benefits and paid-up benefits), putative class members
had sufficient information whether to take the settlement course
or set sail on their own. No more is required.

As Class Counsel and Genworth have explained, the alternative
proposed (or implied by the objectors) is not a viable one. The
proposed alternative is to have Genworth distribute the Special
Election Letters and then allow class members to opt out if they
do not like the options made available to them. Genworth has
explained that an estimate of that sort would be only preliminary
because policies renew at different times and an estimate today
likely would not be valid when the time for policy renewal arrives.
In other words, class members would be confused because the
information they receive - a preliminary disclosure and estimate
now and another disclosure and estimate proximate to removal -
would almost certainly conflict. And, from the record, that

appears to be the case.

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Apart from that point, the course posited by the Settlement
Agreement is what Genworth is willing to do. That course gives
class members what they sued for and more. Class Counsel consider
this course to be acceptable in perspective of the discovered
evidence and an evaluation of the likelihood of success. No
objector has shown Class Counsel’s opinion to be erroneous or even
flawed.

All things considered, the Notice is adequate under the
applicable law and the objections to the Settlement Agreement
addressed in this section do not make its terms unfair,
unreasonable, or inadequate.

(3) Whether Additional Information Should Have Been
Included in the Notice

The Simpsons state that the Notice “is totally inadequate in
its description of the background and bases for” the litigation.
Simpson Objection at 1, ECF No. 121. However, contrary to the
Simpsons’ assertion, the Notice does provide this information.

The Notice includes a description of the class action. The
description provides a brief outline detailing when the Complaint
and Amended Complaints were filed, as well as the allegations that
form the basis of the lawsuit and the defenses to the class claims.

2. Objections Arguing that the Settlement Fails to Provide
Substantial Value to Class Members

Ronald and Pamela Simpson (ECF No. 121), Mark Ostrich (ECF

No. 123), David Frame (ECF No. 149), Steven Gratz (ECF No. 153),

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James Heckmann (ECF No. 158), and Ronald and Toby Agulnick (ECF
No. 162) object to the Court approving the terms of the Settlement
Agreement because they do not believe that the settlement affords
policyholders any substantial relief. The basis of these
objections is that the Settlement Agreement does not offer anything
new or valuable to class members.

The Simpsons state that neither they, nor the majority of the
Class, “will benefit in any way from the Settlement.” Simpson
Objection at 1-2, ECF No. 121. Ostrich states that “class members
are getting nothing of value from Defendant Genworth to their
benefit in the settlement . .. . While the terms in the Notice of
Settlement pretend{] to give something of value to the class
members[,] . . . this is nothing more than a pretense.” Ostrich
Objection at 4, ECF No. 123. Frame states that “the options for
the election are the same as those already provided by the Genworth
company. . . . So the value of the settlement to the policyholder
is minimal.” Frame Objection at 1, ECF No. 149. Heckmann argues
that “it appears there is no benefit to any particular policyholder
as a consequence of this Proposed Settlement Agreement.” Heckmann
Objection at 2, ECF No. 158. And, Gratz argues that the amount
offered to the members of the class “does not in any way get the
level of benefits back we lost and may need some day” and maintains

that the Court should prohibit Genworth from changing premiums and

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benefits to class members in the next five years. Gratz Objection
at 3, ECF No. 153.

Additionally, the Agulnicks expanded on their objection to
the terms of the Settlement Agreement at the July 10, 2020 hearing,
suggesting that the Court reject the settlement “as it’s currently
presented, require this additional information to be provided,
disclosed to class members, have it re-noticed, and have people
have the opportunity to opt out, object, or remain part of the
settlement.” July 10 Hearing Tr. at 35, ECF No 195. The Agulnicks
further argued that there is no “definition of what the value is
for any of the various options.” July 10 Hearing Tr. at 36, ECF
No 195. Specifically, within the Special Election Letter template,
ECF No. 93-1 at 50, the Agulnicks argued that the class members
were not provided with the value “they would forfeit by electing
these options versus the value of the benefits that they get.”
July 10 Hearing Tr. at 38, ECF No. 195.

Contrary to these objections, the Settlement Agreement
affords class members considerable benefits. First, the
Disclosures to be made pursuant to the Settlement Agreement will
inform the class members about anticipated future rate increases,
Genworth’s current financial condition, and Genworth’s need for
the anticipated future rate increases to remain solvent and to pay
future claims. Then, in light of these Disclosures, class members

are given the opportunity to make new policy elections. So, in

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essence, the Settlement Agreement offers class members the ability
to make new policy elections, equipped with information about
possible premium increases in future years. As Class Counsel
explained at the July 10, 2020 hearing, the purpose of the class
action is to afford class members the opportunity to “re-choose”
their policies as if they had been informed about Genworth’s long-
term plans for rate increases in 2014, when rate increases first
began to occur. July 10 Hearing Tr. at 90, ECF No. 195. The terms
of the Settlement Agreement require the Disclosures, the omission
of which is a central component of the class complaint.

Moreover, the Settlement Agreement provides Special Election
Options with features that were not previously available to class
members, including cash damages and non-forfeiture benefits
designed to compensate class members for financial harm caused by
the alleged non-disclosures in the past. And, while several
objectors state that the cash damages payments resulting from the
Settlement are nominal, this is not correct. As the parties stated
at the July 14, 2020 settlement hearing and again in their response
to the Court’s order:

(W]hile the Parties cannot at this point know
what the final impact of Class Members’
elections of the Special Election Options will
be, based on reasonable and conservative
assumptions, the Parties estimate, and the
accompanying Declaration of Jamala Arland
shows, that the Cash Damages payments to Class

Members alone will exceed $100 million. Arland
Decl. @ 12. In reaching that estimate, the

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Parties have made the following assumptions:

if fifteen percent (15%) of Class Members

elect a Special Election Option and Class

Members’ choices are evenly divided across the

five Options—i.e., that 3% of Class Members

will elect each of the five Options, then Cash

Damages payments would be $130,997,988. Id.
JOINT STATEMENT OF POSITION IN RESPONSE TO THE COURT’S JULY 21,
2020 ORDER at 3, ECF No. 203. In supplemental information,
Genworth reported that the potential Cash Damage payments can
reasonably be estimated to be in the range of $80 to $174 million.
DEFENDANTS’ MEMORANDUM IN RESPONSE TO THE COURT’S SEPTEMBER 16,
2020 ORDER at 2, ECF No. 213. And, if the most conservative and
the most liberal assumptions are disregarded, the estimated value
would be $130 million.

In determining whether to approve a class action settlement,
the issue is not whether everyone affected by the settlement is
completely satisfied. Instead, the test is whether the settlement,
as a whole, is a fair, adequate, and reasonable resolution of the
class claims asserted. See, e.g., In re Genworth Fin. Sec. Litig.,
210 F. Supp. 3d 837, 839 (E.D. Va. 2016). The terms of the
Settlement Agreement provide class members with Disclosures, as
well as options to weigh in light of those disclosure. It is true
that the Settlement Agreement does not present class members with
every conceivable option, or even, the best option in light of the

particular circumstances faced by each class member. But, that

does not mean that the Settlement Agreement lacks value.

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A settlement is a compromise between parties to avoid the
risk of having the matter decided at trial where either side might
lose. Here, Class Counsel negotiated with counsel for Genworth to
create a solution that was in line with the key objectives of the
lawsuit and, by any measure, Class Counsel was successful in doing
so. The options provided to class members take into consideration,
insofar as possible, the wide range of circumstances class members
might be facing and affords class members the opportunity to make
selections from the options afforded.

The Settlement Agreement stands to confer substantial benefit
on more than 200,000 policyholders. It affords class members the
opportunity to obtain substantial monetary damages and the ability
to make a new election for their long-term care policies based on
additional disclosures relating to Genworth’s plans for future
rate increases and financial viability. The Settlement Agreement
provides a mechanism for those who do not think that they will be
benefitted to opt out. And, the Settlement Agreement provides a
mechanism for those who object to the terms of the Settlement to
object to it. The options provided to class members within the
Settlement enable class members to elect an option based on their
individual financial circumstances and other factors that a
policyholder might find important. In the Court’s view, these are
substantial benefits obtained for class members as a result of the

Settlement Agreement.

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3. Objections that the Rate Increases Themselves Should Be
Challenged

Three of the objections to the Settlement Agreement allege
that Plaintiffs should have challenged the increases in premium
rates that Genworth charged class members over the class period.
Steven Gratz (ECF No. 153) argues that Genworth should not be
allowed to reduce the amount of benefits offered or be able to
increase premiums over the next five years-thereby arguing that
class members should be able to keep their current benefits without
any increase in premiums. Gratz Objection at 3, ECF No. 153. The
Jacobs assert that if they had knowledge of the planned rate
increases in 2014, they “would have looked into other companies
offering alternative policies.” Jacobs Objection at 1, ECF No.
159. Last, Ralph Ferrara argues that the terms of the Settlement
require that class members “be subjected to abusive accumulative
rate increases of as much as approximately 203% on policies with
lifetime benefits. Indeed, keeping the policy on those terms could
never be characterized as maintaining ‘the benefit of the
bargain.’” Ferrara Objection at 11, ECF No. 170. He argues that
prevailing at trial would bestow full benefits without premium
rate increases or cash damages sufficient “to procure a long-term
care insurance policy with terms comparable to [Ferrara’s current]

[plolicy.” Id. at 11. In one way or another, these objections

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are grounded in the assertion that the rate increases made by
Genworth should have been challenged in this action.

In assessing these objections, it is necessary to keep in
mind the basis of this class action and the class claims. As
explained in the Memorandum Opinion denying in part Genworth’s
MOTION TO DISMISS THE AMENDED COMPLAINT (ECF No. 39), “all the
[plaintiffs’] claims (for breach of contract, for fraud, and under
the UTPCL) are based on the theory that Genworth withheld material
information from the plaintiffs. That is not a challenge to the
reasonableness of the rate.” Skochin v. Genworth, 413 F. Supp. 3d
473, 483 (E.D. Va. 2019) (Payne, J.) (emphasis added). The
Memorandum Opinion continued

Here, the plaintiffs have alleged a claim for
fraud based on Genworth's half-truths. The
Amended Complaint alleges that Genworth spoke
only half-truths to the plaintiffs in order to
persuade them to keep their policies when the
plaintiffs would not have done so otherwise.
Genworth emphasized its financial stability
when the plaintiffs began their plans, and
Genworth continued to tout that stability. It
did so even as it began to realize that it
faced dire financial straits and well-knew
that it would have to rely on substantial
future premium increases to survive. And,
instead of informing their policyholders of
this information, it said only that premium
rate increases were “likely” to occur in the
future, a statement that was a half-truth.
And, the plaintiffs allege that Genworth
intentionally decided not to release this
information so that policyholders would
continue to pay into their policies, which
then caused the plaintiffs financial
detriment. That is enough to state a half-

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truth claim under either Maryland of
Pennsylvania law.

Skochin v. Genworth, 413 F. Supp. 3d 473, 486-87 (E.D. Va.
2019) (Payne, J.).

 

However, because Genworth’s past rate increases were approved
by state or federal regulators, any objections to the propriety of
the rates themselves are barred by the filed-rate doctrine.® Thus,
the Court overrules all objections based on the notion that the
settlement is inadequate for failure to have challenged the past
increases.

4. Objections that the Settlement Will Financially Stress
Genworth

Lana Olsson (ECF No. 116), Jon C. Richards (ECF No. 119),
Thomas D. Luck (ECF No. 122), Rian and Michael Keller (ECF Nos.
127, 128), John and Mary Sweeney (ECF No. 133), Paul Junis (ECF
No. 166), and George Brehmer (ECF No. 172) object to the proposed
Settlement on the ground that the Settlement will financially
stress Genworth and could be used to justify higher premiums in
the future. In essence, the objectors argue that terms of the
settlement will further strain Genworth’s resources and will
negatively affect Genworth’s financial situation. As a result,

say the objectors, the settlement will impair Genworth’s ability

 

8 The filed-rate doctrine is a federal and state common law doctrine
that precludes lawsuits that challenge the payment of rates filed
with a state or federal regulator. See, ¢.g., AT&T Co. v. Cent.
Office Tel., Inc., 524 U.S. 214, 221-23 (1998). This doctrine
precludes civil lawsuits that challenge the alleged misconduct
leading to the payments of the filed rates. The Court need not
examine this doctrine in detail at this time, as it is not material
to the outcome at hand.

 

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to pay policyholder claims and will necessitate higher premiums in
the future.

There is no explicit requirement that a class action
settlement provide assurances that a defendant will be financially
viable in the future. Nonetheless, the Court is obligated “to
appraise the reasonableness of particular class-action settlements
on a case-by-case basis, in light of the relevant circumstances.”

In re MicroStrategy, Inc. Securities Litig., 148 F. Supp. 2d 654,

 

663 (E.D. Va. 2001) (internal quotations omitted). And whether a
class action defendant is able to pay claims to policyholders plays
a role in the Court’s fairness analysis under Fed. R. Civ. P. 23.

With that in mind, it is necessary to recall that a core
contention in this action was that premium increases were caused
because Genworth’s reserves were not adequate to meet its potential
obligations under the LTC policies at issue here. Accordingly, it
is reasonable for class members to question how a settlement
purporting to pay substantial cash damages and attorneys’ fees
might affect Genworth’s financial viability and ability to pay
claims in the future.

In response to these concerns, Genworth represented to Class
Counsel and the Court that it will be able to pay the attorneys’
fees and to meet its other obligations under the Settlement
Agreement, including the cash damages payments elected by
Settlement Class members. PLFS.’ REPLY at 28, ECF No. 177.
Genworth further represented that the attorneys’ fees, service
awards, and cash damage expenses of the Settlement Agreement “will

not be used as actuarial justification by Genworth in seeking

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additional future rate increases.” Id. Additionally, in support
of the position that the Settlement Agreement will not put an
untenable financial strain on Genworth, Class Counsel and Genworth
jointly offered the statement of Jamal Arland, the current Vice
President and Actuary for Long Term Care In-Force Management for
Genworth. Arland Decl. 9 1, ECF No. 203-9. Arland has sworn that
“[t]he ultimate financial impact of the Settlement to Genworth is
subject to several different factors, including but not limited
to, number and types of Special Election Options that are chosen;
and the number, demographics and existing benefits of Class

Members.” Id. 9 14. But, according to Arland:

[A]s part of Genworth’s efforts to determine
the feasibility of implementing the Skochin
Settlement, Genworth has modeled its
expectations of the impact of the Settlement
in various scenarios, including if all Class
Members elected Special Election Options. In
all scenarios, the average reduction in future
benefits that Genworth would pay exceeded the
average reduction in future premiums that
Genworth would collect if the Class Member
maintained his or her current coverage.

Id. @ 15 (emphasis in original). Genworth has presented
information sufficient to overcome objectors’ concerns on the
basis of their financial ability. Based on the statements of
Arland and the assurance given by Genworth, the objections as to
Genworth’s ability to pay future claims are overruled.

5. Subclasses

Sanford and Marion Goldberg (ECF No. 156), Susan and Harriet

Jacobs (ECF No. 159), Ronald and Toby Agulnick (ECF No. 162), and

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Ralph Ferrara (ECF No. 170) object to the settlement terms,
maintaining that subclasses are necessary in order adequately
represent the varying interests of the policyholders within the
proposed class.

Under the terms of the Settlement Agreement, the Settlement
Class is defined as:

[A]11 Policyholders of Class Policies

excluding: (1) those Policyholders of Class

Policies whose policies went into Non-

Forfeiture Status prior to January 1, 2014;

(2) those Policyholders of Class Policies that

entered a Fully Paid-Up Status at any time up

to the date the Class Notice is mailed; (3)

Genworth’s current officers, directors, and

employees as of the date Class Notice is

mailed; and (4) Judge Robert E. Payne and his

immediate family and staff.
Settlement Agreement at 11, ECF No. 93-1. “Class Policies” are
defined as “Genworth long-term care insurance policies, or, for
group policies, certificate forms identified in Appendix A to this
Settlement Agreement in force at any time during the Class Period
and issued in any of the fifty (50) states of the United States or
the District of Columbia (the “States”).” Id. at 9.

Fed. R. Civ. P. 23(c) provides that, “{w]hen appropriate, an
action may be brought or maintained as a class action with respect
to particular issues .. . [and] [w]hen appropriate, a class may
be divided into subclasses that are each treated as a class under

this rule.” Fed. R. Civ. P. 23(c)(4)-(5). This section grants a

court the authority to create subclasses in situations in which

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common and noncommon issues are intermingled. Subclasses may be
appropriate when class members seek different types of relief or
where there are similar types of factual differences between the
claims of different groups or class members. However, “a class
need not be subdivided merely because different groups within it
have alternative legal theories for recovery or because they have
different factual bases for seeking relief.” 7A Wright & Miller,
Federal Practice and Procedure § 1790 (3d ed. 2020).

A. Subclass Based Upon Individual Policyholders’
Circumstances

The Jacobs argue that there should be a separate sub-class
for class members who hold “gold standard” policies, i.e., policies
that allow unlimited benefits and are protected by limiting
inflation increases to 5%. Jacobs Objection at 1, ECF No. 159.

In response, Class Counsel argues that simply having class
members with the same policy form, but different premiums or
different benefits packages does not create interclass conflicts:
“in fact, the Settlement embraces these differences by offering a
number of Special Election Options to choose from after each Class
member receives the Disclosures.” PLFS.’ REPLY at 33, ECF No. 177
(emphasis in original).

At the heart of both arguments is the assertion that the
Settlement Agreement options do not adequately provide for the

objectors’ individual circumstances. Jacobs asserts that, had

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Genworth disclosed the information about the premium increases in
2014, he would have gone to the market in 2014 and gotten a better
long-term care plan. Jacobs maintains that the Settlement
Agreement should have provided him with a different option that
reflects this reality. Jacobs does not raise any issue that is
unique to gold policy members that would justify creating a
subclass. And, in reality, Jacobs is not objecting to the fairness
of the settlement, but rather is arguing that the Settlement
Agreement should provide him with a different type of relief. If
Jacobs was unhappy with the Settlement Agreement, he could have
opted-out and proceeded separately to obtain the requested relief
to which he thought he was entitled. Further, if any gold class
members want to keep their existing policy and benefits, this is
an option available to them under the Settlement Agreement. At
the hearing, Jacobs was given the opportunity to again opt-out and
chose not to do so. For the foregoing reasons, Jacobs’ objection
will be overruled.

The Goldbergs maintain that the Settlement Agreement “does
not define how it will take into account the length of time each
policyholder has paid premiums and total amount paid, which
directly effects each insured policyholder differently including
but not limited to the scope of coverage.” Goldberg Objection at
1, ECF No. 156. The essence of the objection is that, to be fair

and reasonable, the Settlement Agreement must be tailored to each

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individual policyholder’s circumstance and the relief should vary
depending on the circumstances. The Goldbergs do not suggest how
that would be accomplished.

However, their proposal is simply unworkable. Indeed, if the
Court considered this objection to be viable, a class action could
not be certified because individual issues would predominate over
the common issues that really drive the case. For the foregoing
reasons, the Goldbergs’ objection will be overruled.

B. Predominance

At the July 10, 2020 hearing before the Court, one objector,
Ralph Ferrara (“Ferrara”), argued that common questions of law and
fact do not predominate over the class so that the class does not
meet the requirements of Fed. R. Civ. P. 23(b) (3). July 10 Hearing
Tr. at 67, ECF No. 195. Based on the lack of predominance among
the class members, Ferrara maintains that a subclass should be
created for policyholders over the age of 75 who have had a policy
for fifteen years or more. Id. at 68-69. For the following
reasons, the Court finds that the Plaintiffs have satisfied the
Rule 23(b) (3) predominance requirement and will overrule Ferrara’s
objection.

To address Ferrara’s objection, it is necessary to ascertain
whether common questions of law and fact predominate or whether
the case presents the sort of individualized inquiries that

preclude class certification. Under Rule 23(b) (3), the district

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court is required to determine whether “the questions of law or
fact common to class members predominate over any questions
affecting only individual members, and that a class action is
superior to other available methods for fairly and efficiently
adjudicating the controversy.” This rule is “designed to secure
judgments binding all class members” that will “achieve economies
of time, effort, and expense, and promote . . . uniformity of
decision as to persons similarly situated, without sacrificing
procedural fairness or bringing about other undesirable results.”

Achem Prods., Inc. v. Windsor, 521 U.S. 591, 614-15 (1997)

 

(internal quotation marks omitted). A reviewing court must
ascertain “whether the class is cohesive enough to warrant
adjudication by representation.” Morris v. Wachovia Securities,
Inc., 223 F.R.D. 284, 299 (E.D. Va. 2004).

In the TAC, Plaintiffs allege that Genworth fraudulently
induced the plaintiffs to elect to continue coverage by telling
them only that premium increases were “likely” without explaining
that increases were necessary for Genworth to survive and that
significant rate increases were already planned. TAC 97 193-213,
ECF No. 90. A claim of intentional misrepresentation by
concealment, or fraudulent concealment, is found if the Plaintiffs
prove “(1) Defendant owed Plaintiff a duty to disclose a material
fact; (2) Defendant failed to disclose that fact; (3) Defendant

intended to defraud or deceive Plaintiff; (4) Plaintiff took action

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in justifiable reliance on the concealment; and (5) Plaintiff
suffered damages as a result of Defendant's concealment." Odyssey
Travel Ctr., Inc. v. RO Cruises, Inc., 262 F. Supp. 2d 618, 628-

29 (D. Md. 2003) (citing Green v. H & R Block, Inc., 735 A.2d 1039,

 

1059 (Md. 1999)).

Ferrara argues that a subclass should be created for
policyholders who (a) are 75 years of age as of June 30, 2020; (b)
have been insured under a Choice 1 policy for at least 15 years;
(c) have policies with unlimited benefit terms and have 5% compound
interest riders; and (d) otherwise meet the Class definition.
Ferrara Objection at 5-6, ECF No. 170. The predicate of this
contention is that the materiality of Genworth’s fraudulent
conduct differs dramatically depending upon the age of the
individual class member. Ferrara maintains that the materiality
of the deception is significantly more impactful for older
policyholder as compared to younger ones because, given their age
and lack of alternative long-term insurance options, these
policyholders are not in a position in which they cannot chose to
end their policies. Thus, he states that there is no homogeneity
among class members on the issue of materiality. However,
Ferrara’s argument misunderstands the assessment of materiality in

a fraudulent inducement claim.

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The 1996 Advisory Committee Notes to Rule 23(b) (4) address
class treatment when materiality and fraud are at issue, albeit
only briefly, stating in relevant part:

[A] fraud perpetrated on numerous persons by
the use of similar misrepresentations may be
an appealing situation for a class action

On the other hand, although having some
common core, a fraud case may be unsuited for
treatment as a class action if there was
material variation in the representations made
or in the kinds or degrees of reliance by the
persons to whom they were addressed.

 

 

 

Fed. R. Civ. P. 23(b) (4) advisory committee’s note to 1996
amendment (emphasis added). Here, the Plaintiffs state that the
questions of law and fact common to the Class Members are:

whether Genworth omitted material
information from the rate increase letters;

* whether by failing to provide certain
information Genworth breached the duty of
good faith and fair dealing;

¢ whether Genworth also violated the
Pennsylvania Unfair Trade Practices and
Consumer Protection Law;

* whether Genworth should be enjoined from
further misconduct; and

* the appropriate measure of damages or other
relief to which Plaintiffs and the Class
Members are entitled
TAC 7 183, ECF No. 90.
(1) Materiality

Plaintiffs assert in the TAC that, “[w]hen a policyholder

decides whether to renew their LTC policy, the premium rate is a

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material term of the renewal. Whether the insurer plans to increase
rates in the future, the frequency of those planned increases, and
the amount of future increase needed by the insurer to remain
financial(ly] stable are also material to all policyholders.” TAC
q 197, ECF No. 90.

There is neither allegation nor proof that there was a
“material variation” in the information, or lack thereof, provided
to class members. Rather, as to each policyholder, Genworth
withheld “material information about the frequency and amount of
future increases it had already planned to seek.” Id. ( 198. The
information provided to each class member was the same, regardless
of the specifics of the class members’ policies, and there is no
assertion otherwise. This distinguishes this case from actions
less suited for class actions. See, e.g., Morris v. Wachovia
Securities, Inc., 223 F.R.D. 284, 299-300 (E.D. Va. 2005) (finding
that the information available to each class member, and the access
to that information, varied in significant ways such that class
representation was not warranted).

Further, materiality is measured by an objective standard.

Material Misrepresentation, Black’s Law Dictionary (11th ed. 2019)

 

(“Contracts. A false statement that is likely to induce a
reasonable person to assent or that the maker knows is likely to
induce the recipient to assent. 2. Torts. A false statement to

which a reasonable person would attach importance in deciding how

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to act in the transaction in question or to which the maker knows
or has reason to know that the recipient attaches some importance.
See Restatement (Second) of Torts § 538 (1979).”). Thus, the
omission of information about Genworth’s financial viability and
the planned premium increases either is or is not material.
Contrary to Ferrara’s assertion, there are not degrees of
materiality among class members. Any evidence presented on the
element of materiality would be the same as to each policyholder
because the determination is an objective one, not an
individualized one. Here, the theory of liability is that
Genworth’s omissions were objectively material to every single
class member. Therefore, on the pleadings and this record, the
predominance requirement is met.
(2) Reliance

Further, numerous courts have found that, where there are
uniform presentations of allegedly misleading information or
common omissions throughout the entire class, “the element of
reliance may be presumed class-wide thereby obviating the need for
an individualized inquiry of each class member’s reliance.”
Stanich v. Travelers Imdem. Co., 249 F.R.D. 506, 518 (N.D. Ohio
2008). The Fourth Circuit has held that, “when a complaint alleges
illegal omissions of information, reliance need not be shown, but

can be inferred from a showing of materiality.” Morris v. Wachovia

 

Securities, Inc., 223 F.R.D. 284, 301 (E.D. Va. 2005) (citing Banca

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Cremi, S.A. v. Alex. Brown & Sons, Inc., 132 F.3d 1017, 1028 n.13

 

(4th Cir. 1997)). So, the Court’s predominance analysis should
focus on whether there was a material variation in the kinds of
degrees of reliance by the policy members in the potential class.

See Stanich v. Travelers Imdem. Co., 249 F.R.D. 506, 517-18 (N.D.

 

Ohio 2008) (certifying a homeowner insurance’s policyholder class
“[w]here there are uniform presentations of allegedly misleading
information, or common omissions throughout the entire class,
especially through form documents”). And, typically, “differences
in damages among potential class members do not generally defeat
predominance if liability is common to the class.” Morris v.

Wachovia Securities, Inc., 223 F.R.D. 284, 299 (E.D. Va. 2005).

 

Ultimately, the Court’s analysis must look to the following:
If the “qualitatively overarching issue” in
the litigation is common, a class may be
certified notwithstanding the need to resolve
individualized issues. For example, if “common
questions predominate regarding liability,
then courts generally find the predominance
requirement to be satisfied even if individual
damages issues remain.”
Soutter v. Equifax Info. Servs., LLC, 307 F.R.D. 183, 214 (E.D.
Va. 2015) (citations omitted). This case falls within the
circumstances envisioned by Rule 23's Advisory Committee Notes.

Common questions regarding Genworth’s liability to class members

for its allegedly material omissions and the elements of

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materiality and reliance are uniform questions across’ the
policyholders.

For the foregoing reasons, Ferrara’s objections will be
overruled.

c. The Pennsylvania Subclass

The Agulnciks assert that the Pennsylvania subclass alleged
in the TAC “has a separate and distinct statutory unfair trade
practices and consumer protection law claim.” July 10 Hearing Tr.
at 48-49, ECF No. 195. But, they state, the Settlement Agreement
“does not provide for subclasses in any way.” Id. at 49.

In Count Two of the TAC, the Skochins, on behalf of the
Pennsylvania subclass, allege that Genworth “violated the
Pennsylvania CPL by knowingly misrepresenting and intentionally
concealing material facts regarding its plan to systematically,
sequentially and substantially raise premium rates across the
Choice I policy class, Defendants’ reliance on these premium
increases to build adequate reserves to pay the future claims of
the Class and Subclass members, and the frequency and magnitude of
future rate increases necessary to ensure that stability.” TAC
219, ECF No. 90. Under Count Two, the Plaintiffs seek “an order
awarding declaratory and injunctive relief, damages, treble
damages, costs of the litigation, attorneys fees, and any other
just and proper relief available under the Pennsylvania CPL.” Id.

q 224.

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In response to the Agulnicks’ argument, Class Counsel stated

that the Pennsylvania claim is

not a separate claim. It's not a more valuable

claim. It's not a claim that was entitled to

any specific deference or reward at _ the

settlement table or in the approval process.
July 14 Hearing Tr. at 177, ECF No. 196. And, as the Court
articulated, “The parties agree that the statutory claim under the
UTPCPL is based on the same facts as the fraud claim.” Memorandum
Opinion at 29, ECF No. 78.

There is nothing that makes the members of the proposed
Pennsylvania subclass materially different than policyholders in
other states. And to the extent that members felt that the UTPCPL
claim is more valuable to them than the options presented in the
Settlement Agreement, they were given the option to opt-out of the
settlement and pursue their claims against Genworth separately.
For the foregoing reasons, objections that the Settlement
Agreement is inadequate for failure to have a Pennsylvania subclass
will be overruled.

6. Objections Requesting Other Damages Options

Cheryl Runser (ECF No. 148) objects that the settlement does
not refund the premium that she has paid ($32,948.52). Alan Kurtz
(ECF No. 154) suggests that the settlement must be revaluated.
William Jr. Van Dam (ECF No. 171) calls for the addition of other

options. Thomas and Paula Spitznagle (ECF No. 169) make a similar

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suggestion. None of these objections and suggestions are supported
by explanations of how they might be implemented or how they are
an improvement over the terms negotiated by Class Counsel. Thus,
these objectors have not satisfied their burden. These objections
will be overruled.
CONCLUSION

For the foregoing reasons, and to the extent outlined above,
the objections to Plaintiffs’ Motion to Approve the Class
Settlement will be overruled.

It is so ORDERED.

/s/ REV

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: November , 2020

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